          Case 2:15-cv-00188-ABJ Document 80-1 Filed 07/08/16 Page 1 of 2
Appellate Case: 16-8047 Document: 01019653198 Date Filed: 07/07/2016 Page: 1
                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                               Chris Wolpert
  Clerk of Court                         July 07, 2016                           Chief Deputy Clerk




  Stephan Harris
  United States District Court for the District of Wyoming
  Office of the Clerk
  2120 Capitol Avenue, Room 2141
  Cheyenne, WY 82001-0000

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  520 Wilkes Drive, Suite 7A
  P.O. Box 237
  Green River, WY 82935


  RE:       16-8047, Global E, et al v. Lundahl, et al
            Dist/Ag docket: 2:15-CV-00188-ABJ

  Dear Litigants and Clerk:

  Please be advised that the court issued an order today dismissing this case.

  In addition, please be advised that the mandate for this case has issued today. The clerk of
  the originating court shall file accordingly.
          Case 2:15-cv-00188-ABJ Document 80-1 Filed 07/08/16 Page 2 of 2
Appellate Case: 16-8047 Document: 01019653198 Date Filed: 07/07/2016 Page: 2
  Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court




  EAS/dd




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